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12
                                UNITED STATES DISTRICT COURT
13
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                      WESTERN DIVISION
15
       UNITED STATES OF AMERICA,               Case No. 2:21-cv-007279-RGK(MARx)
16
                  Plaintiff,                   STIPULATION AND REQUEST TO
17                                             TRANSFER THE DEFENDANTS
                       v.                      $1,083,740.00 IN U.S. CURRENCY AND
18                                             MISCELLANEOUS PRECIOUS ITEMS TO
                                               SANTA CLARA COUNTY DISTRICT
       $1,083,740.00 IN U.S. CURRENCY          ATTORNEY’S OFFICE FOR APPLICATION
19     AND MISCELLANEOUS PRECIOUS              OF THE CURRENCY AND NET PROCEEDS
       ITEMS,                                  FROM THE SALE OF MISCELLANEOUS
20                                             PRECIOUS ITEMS TO ANY RESTITUTION
                  Defendants.                  ORDERS ENTERED IN THE RELATED
21                                             SANTA CLARA COUNTY SUPERIOR COURT
                                               CRIMINAL CASE AND TO DISMISS THIS
22     DAVID SUTTON,                           ACTION WITHOUT PREJUDICE PURSUANT
                                               TO FED. R. CIV. P.
23                Claimant.                    41(a)(1)(A)(ii); [PROPOSED] ORDER
                                               THEREON LODGED UNDER SEPARATE
24                                             COVER

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            Plaintiff United States of America, on the one hand, and
28
       claimant David Sutton (“claimant”), on the other hand, by the
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1      signatures of their attorneys hereunder, hereby stipulate and request

2      that the Court enter an order that:

3           (i)   the defendants $1,083,740.00 in U.S. Currency and

4      Miscellaneous Precious Items be transferred to the Santa Clara County

5      District Attorney’s Office (the “SCDAO”) so that the funds and net

6      proceeds from the SCDAO or its representative’s sale of the

7      Miscellaneous Precious Items 1 can be applied to any restitution

8      orders entered in the related criminal case entitled The People of

9      the State of California v. David Sutton, Brian Sutton, Vladimir
10     Tsikman, Hershel Tsikman, Roman Kardonskiy, Jaid Gorban, Felix

11     Lantsman, et al., Santa Clara Superior Court Case No. C2007796, in

12     which claimant is named as a defendant;

13          (ii) the defendant Misecllaneous Precious Items shall be

14     transferred to the SCDAO by making those items available for pickup

15     by the SCDAO; and

16         (iii) this civil forfeiture case be dismissed without prejudice

17     pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), with the parties each

18     bearing their own attorney fees and costs.

19          In addition, by this stipulation claimant hereby releases the

20     United States of America, its agencies, agents, officers, employees

21     and representatives, including, without limitation, all agents,

22     officers, employees and representatives of the Federal Bureau of

23     Investigation and their respective agencies, as well as all agents,

24     officers, employees and representatives of any state or local

25     governmental or law enforcement agency involved in the investigation

26     or prosecution of this matter, from any and all claims (including,

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            1 A list of the defendant Miscellaneous Precious Items is
       attached hereto as Exhibit A.

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